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 5                                   UNITED STATES DISTRICT COURT
 6                                          DISTRICT OF NEVADA
 7
 8   UNITED STATES OF AMERICA,                 )
                                               )                   Case No. 2:12-cr-00132-MMD-CWH
 9                                             )
     vs.                                       )                   ORDER
10                                             )
                                               )
11   MICHAEL HALL, et al.,                     )
                                               )
12                     Defendants.             )
     __________________________________________)
13
14          This matter is before the Court on Defendant Michael Hall’s Motion to Reconsider (#103), filed
15   April 2, 2013 and the Government’s Response (#104), filed April 11, 2013. By way of the motion, it
16   appears that Defendant Hall asks the court to reconsider its order denying severance. See Order (#96).
17   The motion is not styled as an appeal of the undersigned’s order pursuant to 28 U.S.C. § 636(b)(1)(A),
18   Fed. R. Civ. P. 72(a), or Local Rule IB 3-1(a).
19          “The Federal Rules of Criminal Procedure do not expressly permit motions for reconsideration.”
20   United States v. Christopherson, 2012 WL 6205497 (D. Nev.) (citing United States v. Hector, 368
21   F.Supp.2d 1060, 1062-63 (C.D. Cal. 2005), rev’d on other grounds, 474 F.3d 1150 (9th Cir. 2007)).
22   The Ninth Circuit, however, has indicated that motions to reconsider should be treated as motion to
23   alter or amend under Fed. R. Civ. P. 59(e). Christopherson, 2012 WL 6205497 *2. There are three
24   identified reasons sufficient to warrant reconsideration: (1) an intervening change in controlling law; (2)
25   the discovery of new evidence; and (3) the need to correct clear or manifest error in law or fact, to
26   prevent manifest injustice. Id. (citing School Dist. No. 1J v. ACandS,Inc., 5 F.3d 1255, 1263 (9th Cir.
27   1993). “After demonstrating at least one of these three grounds, the movant must then come forward
28   with ‘facts or law of a strongly convincing nature to induce the court to reverse its prior decision.’”
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 1   Christopherson, 2012 WL 6205497 *2 (citation omitted).
 2          Other than stating his general disagreement with the prior order, Defendant Hall has not
 3   presented any reason justifying reconsideration. He has not shown a change in controlling law, has not
 4   submitted new evidence, and has not identified any clear or manifest error in law or fact. Having failed
 5   to demonstrate that any of the requirements for granting a motion for reconsideration have been met, the
 6   motion is denied.
 7          Based on the foregoing and good cause appearing therefore,
 8          IT IS HEREBY ORDERED that Defendant Michael Hall’s Motion to Reconsider (#103) is
 9   denied.
10          DATED: May 2, 2013.
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12                                                ____________________________________
                                                  C.W. Hoffman, Jr.
13                                                UNITED STATES MAGISTRATE JUDGE
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